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4    Attorneys for Defendant,
     YOUSEF NAZEM ALNAJAR
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6

7                               IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

9    UNITED STATES OF AMERICA,                         Case No. 1:18CR-00135-DAD-BAM

                   Plaintiff,                          STIPULATION AND ORDER TO
10                                                     CONTINUE SENTENCING HEARING
            vs.
11
                                                       Date: May 18, 2020
     YOUSEF NAZEM ALNAJAR                              Time: 10:00 a.m.
12
                                                       Courtroom: 5
                   Defendant.                          Judge: D. Drozd
13

14

15          IT IS HEREBY STIPULATED AND AGREED between the United States of America

16   through GRANT B. RABENN, Assistant U.S. Attorney and defendant YOUSEF NAZEM

17   ALNAJAR by and through his counsel, H. TY KHARAZI, of YARRA LAW GROUP, that the

18   haring on Defendant’s Sentencing hearing set for May 18, 2020 at 10:00 a.m. in Courtroom 5 be

19   continued to June 8, 2020 at 10:00 a.m. in Courtroom 5.

20          The continuance is requested by the Defendant to due to Ramadan observance by him and in

21   response to the Coronavirus (COVID-19) outbreak that may impact the court’s docket.

22          Defendant has been interviewed by the Federal Probation Office and a report is pending.

23   Defendant will be filing a pre-sentencing memorandum of his own.

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1             The parties stipulate and agree that the interests of justice may be served by granting this

2    continuance and such continuance is in the interests of public health and safety.

3             Defendant waives time for his sentencing and agrees such continuance will not implicate

4    any timelines imposed by the US Constitution or other rules under the Speeding Trial Act pursuant

5    to 18 U.S.C. §§3161(h)(7)(A) and (B)(iv).

6          IT IS SO STIPULATED:

7    Dated: March 17, 2020.                         Respectfully submitted,

8                                                   YARRA LAW GROUP

9                                                   /s/ H. Ty Kharazi
                                                    H. Ty Kharazi, Attorney for Defendant,
10                                                  Yousef Nazem Alnajar

11
     Dated: March 17, 2020.                         UNITED STATES ATTORNEY
12
                                                    /s/ Grant B. Rabenn
13                                                  Grant B. Rabenn, Assistant U.S Attorney for Plaintiff,
                                                    United States of America
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15

16                                                   ORDER

17         IT IS HEREBY ORDERED that Defendant Yousef Nazem Alnajar’s Sentencing hearing set for

18   May18, 2020 at 10:00 a.m. in Courtroom 5 is continued to June 8, 2020 at 10:00 a.m. in Courtroom

19   5.

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21   IT IS SO ORDERED.

22         Dated:   March 17, 2020
                                                           UNITED STATES DISTRICT JUDGE
23

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                                                       2
